EXHIBIT B
                          WOODROW & PELUSO, LLC FIRM RESUME

        WOODROW & PELUSO, LLC (“Woodrow & Peluso” or the “firm”) is a plaintiff’s class
action and commercial litigation firm based in Denver, Colorado. The firm files cases across the
Country.

         Our attorneys have over a decade of experience successfully representing consumers and
small businesses in matters nationwide. From litigation under the Telephone Consumer Protection
Act, 47 U.S.C. § 227 et seq., to cases enforcing the rights of job applicants and employees under
the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq., to appeals of first impression, our lawyers
have litigated and favorably resolved numerous legal disputes to the satisfaction of our clients. At
Woodrow & Peluso, LLC, we take special pride in the quality of our work product and strive
tirelessly to achieve the best results for every client. Descriptions of our three primary practice
areas—(1) Consumer Class Actions, (2) Commercial Litigation, and (3) Appeals—and key
personnel follow.

                                     OUR PRACTICE AREAS

1.     CONSUMER CLASS ACTIONS

        The majority of the firm’s caseload focuses on consumer class actions. These cases include
class actions alleging violations of statutes, such as the Fair Credit Reporting Act, the Telephone
Consumer Protection Act, and the Truth-in-Lending Act, as well as class actions challenging
systematic breaches of contract and advancing other common law theories.

       TCPA Class Actions

        Woodrow & Peluso attorneys have successfully litigated and settled numerous class actions
challenging violations of the Telephone Consumer Protection Act. To date we have filed,
prosecuted, and resolved using various settlement models TCPA cases against major corporations
and entities including Rita's Italian Ice, Global Marketing Research Services, LKQ Corporation,
J.B. Hunt, Altisource, Acurian, Price Self Storage, Local Lighthouse, Geekatoo, and the University
of South Carolina, among others. Our firm’s attorneys have substantial experience prosecuting
such claims, including class actions challenging the unlawful transmission of text messages, the
sending of unlawful facsimiles, the placement of “robocalls” featuring a pre-recorded voice to
residential landline phones, and the use of automatic telephone dialing systems, including
predictive dialers, to call consumer cell phones.

       Notable TCPA cases and settlements include:

       • Wendell H. Stone & Co. v. LKQ Corporation, 16-cv-07648 (N.D. Ill) (Kennelly, J.)
       (granting final approval to all-in, non-reversionary, settlement fund of $3,266,500) (final
       approval granted May 16, 2017).

       • Martin et al. v. Global Marketing Research Services, Inc., 6:14-cv-1290-ORL-31-KRS
       (M.D. FL) (Woodrow & Peluso appointed co-lead Settlement Class Counsel in
       settlement creating $10 million fund for class of 688,500 cellphone users) (final approval
       granted November 4, 2016);

       • Mendez v. Price Self Storage Management, Inc., 3:15-cv-02077-AJB-JLB (S.D. CA)
       (Woodrow & Peluso appointed co-lead Settlement Class Counsel in TCPA settlement
       providing option of $750 cash or $1,100 in storage certificates) (final approval granted
       August 23, 2016);

       • Sherry Brown and Ericka Newby v. Rita's Water Ice Franchise Company, LLC,
       2:15-cv-03509-TJS (E.D. PA) ("all in" non-reversionary $3,000,000 settlement fund for
       text messages) (final approval granted March 20, 2017);

       • Morris et al v. SolarCity, Inc. 3:15-cv-05107 (N.D. CA) (JPA with counsel on $15
       million common fund TCPA settlement).

        Further, while a Partner with his prior law firm, Woodrow & Peluso attorney Steven
Woodrow was appointed interim co-lead class counsel in a TCPA class action against Nationstar
Mortgage, LLC (see Jordan et al v. Nationstar Mortgage LLC, 3:14-cv-00787-WHO) and led
TCPA litigation that resolved favorably against Bankrate Inc., and Carfax.com. Mr. Woodrow
was also involved in the TCPA settlement reached in Weinstein v. The Timberland Co. et al.
(N.D. Ill.), a text messaging class action featuring 40,000 unauthorized messages, and was part
of the appellate strategy team that secured the landmark decision in Satterfield v. Simon &
Schuster, Inc., 569 F.3d 946 (9th Cir. 2009), the first federal appellate decision to affirm that text
messages are covered as “calls” under the TCPA.

       FCRA Class Actions

        The second sub-focus within the firm’s class action practice consists of cases under the
Fair Credit Reporting Act (“FCRA”), which regulates the procurement and use of consumer
reports by employers when they make hiring/firing/pay decisions. To date, the firm has
successfully represented clients in putative class actions against Terminix, ServiceMaster,
TrueBlue Inc./Labor-Ready Mid-Atlantic, FedEx, Tyler Staffing Services, Inc., Great Lakes
Wine & Spirits, Freeman Webb, Inc., and others. This includes Woodford v. World Emblem
1:15-cv-02983-ELR, an FCRA settlement providing between $315 and $400 to claimants (final
approval granted January 23, 2017).

       Banking and Financial Institutions Class Actions

       Our attorneys have substantial experience representing consumers in class action litigation
involving national banking associations and other financial institutions. Meaningful
representations include:

                      Schulken v. Washington Mut. Bank, No. 09-CV-02708-LHK, 2012 WL
                       28099, at *15 (N.D. Cal. Jan. 5, 2012). Attorney Steven Woodrow secured
                       prior firm’s appointment as Class Counsel from Judge Lucy Koh in class
                       action challenging JPMorgan Chase Bank, N.A.’s suspension of former
                       WaMu home equity line of credit accounts. Case settled with Mr.
                       Woodrow’s appointment as co-lead settlement class counsel.


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                     In re JPMorgan Chase Bank, N.A. Home Equity Line of Credit Litigation,
                      MDL No. 2167. Attorney Steven Woodrow helped secure transfer by the
                      Judicial Panel on Multidistrict Litigation to the Northern District of Illinois
                      and appointment of prior firm as interim class counsel. Attorney Woodrow
                      also negotiated and was also appointed co-lead settlement class counsel in
                      settlement projected to restore between $3 billion - $5 billion in credit to
                      affected borrowers in addition to cash payments.

                     Hamilton v. Wells Fargo Bank, N.A., 4:09-cv-04152-CW (N.D. Cal.).
                      Attorney Steven Woodrow served as co-lead settlement counsel in class
                      action challenging Wells Fargo’s suspensions of home equity lines of credit.
                      Nationwide settlement restored access to over $1 billion in credit and
                      provided industry leading service enhancements and injunctive relief.

                     In re Citibank HELOC Reduction Litigation, 09-CV-0350-MMC (N.D.
                      Cal.). Attorney Steven Woodrow was appointed interim co-lead counsel
                      and settlement class counsel in class actions challenging Citibank’s
                      suspensions of home equity lines of credit. The settlement was estimated to
                      have restored over $650,000,000 worth of credit to affected borrowers.

                     Vess v. Bank of America, N.A. 10cv920–AJB(WVG) (S.D. Cal.). Attorney
                      Steven Woodrow negotiated class action settlement with Bank of America
                      challenging suspension and reduction of home equity lines of credit.

                     Wigod v. Wells Fargo, No. 10-cv-2348 (N.D. Ill.). Steven Woodrow
                      secured the first appellate decision in the country recognizing the right of
                      homeowners to sue under state law to enforce HAMP trial plan agreements.
                      Attorney Steven Woodrow was appointed co-lead settlement counsel
                      providing loan modifications and cash payments to affected borrowers.

       General Consumer Protection Class Actions

        Woodrow & Peluso attorneys have additionally successfully prosecuted and resolved
countless class action suits against other companies for a range of consumer protection issues. For
example, Woodrow & Peluso filed the first class action in the Country to challenge the marijuana
industry’s use of certain allegedly dangerous fungicides and pesticides and were the first lawyers
to bring class actions (against the Colorado Rockies Baseball Club and Kroenke Sports &
Entertainment, LLC) seeking to enforce the Colorado Consumer Protection Act, § 6-1- 718 et seq.,
which prohibits owners of entertainment venues from imposing restrictions on the resale of tickets.
The firm has also brought and litigated class actions against hospitals for their use of
“chargemaster” billing rates and are presently engaged in litigation against Southwest Airlines
related to its “Companion Pass” program.

        Woodrow & Peluso LLC has also brought claims against major food manufacturers and
distributors for falsely advertising certain products as “All Natural” and “Made in U.S.A.” Our
attorneys also have experience litigating class claims regarding missing or misappropriated
“bitcoins.” Woodrow & Peluso also brought the first class action in Colorado against cannabis


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growers for their use of unapproved and harmful pesticides.

2.     COMMERCIAL LITIGATION

        As small business owners, we understand and appreciate the challenges that new
companies face as they strive to make headway in the market. Our attorneys regularly counsel
small to medium-sized businesses and have represented such companies in a wide range of general
commercial litigation matters including partnership and business disputes, breaches of contracts
and term sheets, and claims charging company managers and members of breach of fiduciary duty,
breach of contract, fraud, and fraudulent/preferential transfers. We regularly advise clients on
matters and contracts involving millions of dollars, and our attorneys have successfully represented
businesses and other entities in mediations, arbitrations, and trial.

3.     APPEALS

        Our attorneys have substantial experience handling appeals at both the state and federal
level. Representative appeals worked on predominately by our attorneys include:

                      Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547 (7th Cir. 2012). Attorney
                       Steven Woodrow briefed and argued this appeal resulting in the first
                       federal appellate decision holding that banks may be sued under state law
                       for violations of the federal government’s Home Affordable Modification
                       Program. The opinion has been cited over 1,300 times by courts, litigants,
                       and commentators throughout the Country and is widely regarded as the
                       leading authority on the rights and obligations of HAMP servicers and
                       borrowers.

                      Robins v. Spokeo, 742 F.3d 409 (9th Cir. 2014). Attorney Steven Woodrow
                       argued a federal appeal reversing dismissal and upholding consumer rights
                       under the Fair Credit Reporting Act against one of the nation’s largest
                       online data aggregators regarding whether a plaintiff who does not suffer
                       tangible pecuniary loss may still show legal harm to satisfy Article III
                       standing. The case was reversed on writ of certiorari to the United States
                       Supreme Court (argued by different attorneys).

                      Equity Residential Properties Mgmt. Corp. v. Nasolo, 364 Ill. App. 3d 26,
                       28, 847 N.E.2d 126, 128 (2006). Attorney Steven Woodrow helped author
                       the winning brief in this landmark landlord/tenant appeal defining the
                       requirements for constructive service and due process for Illinois evictions
                       under the Illinois Forcible Entry and Detainer Act. 735 ILCS 5/9–107 et
                       seq.

                      Fuentes v. Kroenke Sports & Entertainment, LLC, Case No. 2014CV32619.
                       Woodrow & Peluso appealed grant of summary judgment in favor of
                       defendant finding that the Colorado Consumer Protection Act, 6-1-701 et




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                       seq. does not allow for class actions. Case settled prior to the resolution of
                       the appeal.

                                        OUR ATTORNEYS

       At present, our firm consists of 3 attorneys whose relevant experience is set forth below.

STEVEN LEZELL WOODROW has over a decade of experience advising consumers and small
businesses in high stakes litigation.

Steven briefed and delivered the winning argument in the landmark federal appellate court decision
Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547 (7th Cir. 2012) holding banks accountable for
violations of the federal Home Affordable Modification Program. The opinion is widely regarded
as the leading authority on the rights and obligations of HAMP servicers and borrowers. Steven
also delivered the winning oral argument in Robins v. Spokeo, 742 F.3d 409 (9th Cir. 2014), a
federal appeal upholding consumer rights under the Fair Credit Reporting Act against one of the
nation’s largest online data aggregators. The case and the Supreme Court decision that ultimately
reversed it (and now the Ninth Circuit's decision to re-affirm its prior finding of Article III
standing) present some of the most widely-litigated issues in class action practice today.

Mr. Woodrow was appointed lead class counsel in litigation against JPMorgan Chase Bank,
N.A. challenging the bank’s 4506-T HELOC suspension program and was appointed lead
settlement class counsel in other HELOC suspension litigation against Wells Fargo Bank, N.A.,
Citibank, N.A., Chase, Bank of America, N.A. and PNC Bank.

Mr. Woodrow also led the legal team that secured a preliminary injunction freezing the U.S. assets
of Mark Karpeles, the former head of the failed Bitcoin exchange known as Mt. Gox, as well as
an order compelling Mr. Karpeles to personally appear in the United States for a
deposition in connection with Mt. Gox’s Chapter 15 bankruptcy case in Dallas Texas.

Steven has also litigated putative class actions under the Telephone Consumer Protection Act, and
courts have appointed him to serve as class counsel in nationwide settlements against cellphone
companies, aggregators, and mobile content providers related to unfair billing practices, including
Paluzzi v. Cellco Partnership, Williams v. Motricity, Inc., and Walker v. OpenMarket Inc.

Steven has also served as an Adjunct Professor of Law at the Illinois Institute of
Technology Chicago-Kent College of Law, where he co-taught a seminar on class actions. Prior
to founding Woodrow & Peluso, Steven was a partner at prominent class action technology firm
in Chicago.

Before that, he worked as a litigator at a Chicago boutique where he tried and arbitrated a range of
consumer protection, landlord tenant, and real estate matters.

EDUCATION
Chicago-Kent College of Law, J.D., High Honors, 2005
The University of Michigan-Ann Arbor, B.A, Political Science, with Distinction, 2002



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ADMISSIONS
State of Illinois (2005)
State of Colorado (2011)
United States Court of Appeals for the Seventh Circuit
United States Court of Appeals for the Ninth Circuit
United States District Court, Northern District of Illinois
United States District Court, District of Colorado
United States District Court, Eastern District of Michigan
United States District Court, Western District of Michigan
United States District Court, District of New Mexico

PATRICK H. PELUSO specializes in plaintiff-side consumer class actions.

With a true passion for protecting consumers and their rights, Patrick aggressively pursues class
action lawsuits against companies who violate those rights.

Through these lawsuits, he is able to force law-breaking companies to compensate the people they
have harmed and correct their future practices. Patrick possesses the skills, strategic vision, and
moxie to achieve excellent results for the people he represents. He has experience working with a
broad range of consumer protection laws including the Fair Credit Reporting Act, the Telephone
Consumer Protection Act, and various state consumer protection and consumer fraud statutes.

Patrick received his law degree from the University of Denver, Sturm College of Law where he
was Editor-in-Chief of an academic journal. During law school, Patrick worked with a leading
consumer class action law firm and held legal internships with a federal administrative judge and
the legal department of a publicly traded corporation. Before law school, Patrick attended New
York University, where he graduated with a B.S. and played on the school’s club baseball team.

Patrick grew up in Baltimore, Maryland and now resides in Denver, Colorado.

EDUCATION
University of Denver, J.D. 2014
New York University, B.S.

ADMISSIONS
State of Colorado (2014)
United States District Court, District of Colorado
United States District Court, District of New Mexico
United States District Court, Eastern District of Michigan
United States District Court, Northern District of Illinois
United States District Court, Western District of Wisconsin




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TAYLOR TRUE SMITH focuses his practice on consumer class actions.


Throughout his life and career, Taylor has developed a passion for consumer advocacy. By
pursuing class actions on behalf of consumers, Taylor can give consumers not just a voice but
also a seat at the bargaining table.

Taylor received his law degree from the Creighton University School of Law. During law school,
he interned with the South Dakota Supreme Court. Prior to beginning law school, Taylor
attended South Dakota State University where he earned a B.S. in Economics.

Taylor was raised in Fort Pierre, South Dakota and currently resides in Denver, Colorado.

Education
Creighton University School of Law, J.D. Cum Laude 2017
South Dakota State University, B.S. Magna Cum Laude 2013

Admissions
State of Colorado (2017)
United States District Court, District of Colorado
United States District Court, Eastern District of Michigan
United States District Court, Northern District of Illinois




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